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April 3, 2024

To Whom it may Concern,

Paul Bateman has been employed at Muckey’s Liquors since February 13, 2020 as a
Cashier, Stock Associate, Propane Dispensing Tech, and Cooler Supervisor.

In that time, he went above and beyond the duties of his original position as Cashier by
becoming certified as a Propane Dispensing Technician, becoming educated in the
duties of Cooler and Stock Associate then supervisor, and by adhering to all Policies,
Protocols and Regulations mandated by the state of Massachusetts for the safety of
alcohol and propane sales. He has also helped out at events and promotional tastings
held by our business and provided consistent excellent customer service.

During his time with us, he received four merit raises. He started at $16/hr and
increased over the past four years to $20/hr. He has a perfect attendance record, no
disciplinary record, and has been an asset to our business by taking it upon himself to
become educated in whiskey etiquette so as to better help our customers. He has
become an excellent resource to our customers who are looking for specific notes in
their whiskey selection.

Paul is a candidate for rehire. He put his heart into his job and really cared about our
store and our business. He was always professional and is well liked by his coworkers.
Please reach out if you need any additional information, my phone number is
               and my email is

Best regards,


Catherine Pereira; Office Manager, Treasurer
Muckey’s Liquors
